                              VACATE the order denying preliminary injunctive relief AND
                REMAND this matter to the district court for further proceedings
                consistent with this order.




                                                            Hardesty


                                                                                         J.
                                                            Douglas



                CHERRY, J., concurring:
                              For the reasons stated in the SFR Investments Pool 1, LLC v.
                U.S. Bank, N.A., 130 Nev. , 334 P.3d 408 (2014), dissent, I disagree
                that respondent lost its lien priority by virtue of the homeowners
                association's nonjudicial foreclosure sale. I recognize, however, that SFR
                Investments    is now the controlling law and, thusly, concur in the
                disposition of this appeal.




                cc: Hon. Timothy C. Williams, District Judge
                     Howard Kim &amp; Associates
                     Houser &amp; Allison, APC
                     Eighth District Court Clerk




SUPREME COURT
        OF
     NEVADA
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